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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

JOHN NEWMAN                                :
                                           :
               Plaintiff,                  :       Civil Action No. 1:20-cv-3761(TNM)
                                           :
       v.                                  :
                                           :
FEDERAL BUREAU OF                          :
PRISONS and UNITED                         :
STATES PAROLE COMMISSION,                  :
                                           :
               Defendants.                 :


                  PLAINTIFF’S [ALTERNATIVE PROPOSED] ORDER

       Upon consideration of Plaintiff’s Response to Defendants’ Motion for Summary

Judgment and Plaintiff’s Cross-Motion for Summary Judgment and the entire record herein, it is

hereby ORDERED that Defendants’ Motion for Summary Judgment and Plaintiff’s Cross-

Motion for Summary Judgment and any further briefing on said motions, be held in abeyance

until such time as COVID restrictions are lifted and the National Archives Records

Administration’s Washington National Records Center is reopened to public access;

       IT IS FURTHERE ORDERED that Plaintiff and Defendants use the time pending until

the reopening of the Archives Records Administration’s Washington National Records Center to

conduct discovery in this case.

       IT IS FURTHER ORDERED that Plaintiff and Defendants shall file a Joint Status Report

with this Court within 30 days setting an agreed briefing schedule on the pending Motion for

Summary Judgment and Cross-Motion for Summary Judgment.

SO ORDERED.

Date: _______________                              ______________________________
                                                   United States District Judge
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